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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

Plaintiffs Fund Texas Choice, et al.,

       Plaintiffs,
v.

JOSE GARZA, in his Official Capacity of
Travis County District Attorney, et al., Civil Case No. 1:22-cv-859

       Defendants.


            PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                     AGAINST PROSECUTOR DEFENDANTS
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                                      I. INTRODUCTION


       Plaintiffs are “nonprofit Texas abortion funds and one physician. As part of their mission

to support reproductive rights, they hope to fund and facilitate travel and lodging for Texans who

seek abortions outside the state.” ECF 258 at 2. They are currently unable to fulfill their missions

because of the threat of criminal prosecution under Articles 1191-1194 and 1196 of the Texas

Penal Code (the “Pre-Roe Statutes,” now codified at Texas Revised Civil Statutes, Articles 4512.1-

4512.4 and 4512.6). The Prosecutor Defendants 1 are Texas district attorneys and county attorneys

who have the power to enforce the Pre-Roe Statutes.

       Because there are no genuine disputes as to any material fact and the Pre-Roe Statutes have

been repealed by implication, are facially unconstitutional, and are otherwise void as a matter of

law, Plaintiffs seek partial summary judgment on Counts I-V against the Prosecutor Defendants.

As explained below, Plaintiffs are entitled to declaratory judgment that: (1) the Pre-Roe Statutes

were impliedly repealed; (2) retroactive application of the Pre-Roe Statutes violates due process;

(3) the Pre-Roe Statutes violate Plaintiffs’ constitutional rights to travel, speech, and assembly;

and (4) the Pre-Roe Statutes are void for vagueness.2

             II. UNDISPUTED FACTS AND PROCEDURAL BACKGROUND

       On June 24, 2022, the U.S. Supreme Court issued its opinion in Dobbs v. Jackson Women’s

Health Organization, 597 U.S. 215 (2022), reversing its prior holdings in Roe v. Wade, 410 U.S.



1
  The Prosecutor Defendants are: Susan R. Deski, José Garza, Wiley B. McAfee, Julie Renken,
Fred H. Weber, Gocha Allen Ramirez, Joe Gonzales, Bill D. Hicks, Toribio Palacios, Jacob
Putman, Richard E. Glaser, Ryan Sinclair, and K. Sunshine Stanek (along with Ori T. White who
has failed to appear in this case).
2
  All Plaintiffs are moving for partial summary judgment against the Prosector Defendants on
Counts I-V. Dr. Moayedi is not moving for summary judgment at this time on Count VII, which
seeks a declaratory judgment that the Pre-Roe Statutes are preempted by federal law and
regulations implemented by the Center for Medicare Services.

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113 (1973) and Planned Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S. 833 (1992).

The Supreme Court entered its final judgment in Dobbs approximately a month after its decision,

on July 25, 2022.

       Immediately following the Dobbs decision, and then again after the Supreme Court entered

final judgment, Texas Attorney General Ken Paxton stated that the Pre-Roe Statutes were in full

force and effect and could immediately be enforced by prosecutors in Texas.3 Both before and

after Dobbs was decided, other Texas officials also proclaimed that reproductive justice groups

would be held criminally liable—both going forward and retrospectively—for assisting with

abortions pre-Dobbs and for helping pregnant people to travel to states where abortion is legal. 4

       The Dobbs opinion and the related threats that Texas’s anti-abortion laws, including the

Pre-Roe Statutes, would be enforced caused all Plaintiffs (except for Buckle Bunnies Fund) to

immediately pause all of their activities that assisted Texans seeking abortion care, including care

provided out of state.5 Those Plaintiffs stopped providing financial, logistical, or practical support

to assist pregnant Texans to access abortion outside the state, including traveling with pregnant

Texans.6 All Plaintiffs also significantly restrained their speech in terms of providing educational




3
  See Ex. A, Pls.’ Preliminary Injunction Hearing Exhibits (“Hearing Exhibits”) 3-4, 26-27 (offered
and admitted at Preliminary Injunction Hearing on Sept. 27, 2022); Ex. B, Pls. Preliminary
Injunction Hearing Transcript (“Hearing Transcript”), pp. 80, 87, 102-03, 158-59 (reflecting offer
and admission).
4
  See Ex. A, Hearing Exhibits, 1, 5-9; Ex. B, Hearing Transcript, pp. 88-89, 92-101 (reflecting
offer and admission).
5
  See Ex. A, Hearing Exhibits, 17-20; Ex. B, Hearing Transcript, pp. 11:20-12:25 (Testimony of
A. Rupani on behalf of Plaintiff Fund Texas Choice); pp. 55:16-57:17 (Testimony of N. Davé on
behalf of Plaintiff the Lilith Fund for Reproductive Equity); pp. 84:17-86:21 (Testimony of R.
Mariappuram on behalf of Plaintiff Jane’s Due Process); pp. 153:25-154:17 (Testimony of B.
Schilling on behalf of Plaintiff Clinic Access Support Network); pp. 189:8-190:9 (Testimony of
Plaintiff G. Moayedi); see also Ex. C, Declaration of Makayla Montoya-Frazier at ¶ 5.
6
  Id.

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or other information or encouragement to people seeking legal abortions in other states. 7 Plaintiff

Dr. Ghazaleh Moayedi also ceased providing all abortion care to Texans, both in Texas (via

telehealth for patients in other states) and in other states where it remains legal and in which she

is also licensed to practice medicine.8

       On August 23, 2022, Plaintiffs filed their Original Class Action Complaint naming

Defendant Deski, on behalf of a class of all Texas County Attorneys similarly situated; and

Defendants Renken, McAfee, Garza, and Weber on behalf of a class of all Texas District Attorneys

similarly situated. Defendants Gonzales, Palacios, Stanek, Ramirez, Hicks, White, Glaser,

Sinclair, and Putman were at that time members of the proposed Defendant Class and were added

as named defendants on April 20, 2023, when Plaintiffs filed their Second Amended Class Action

Complaint. SAC at ¶¶ 75-83, 85, 170-80. 9

       The Prosecutor Defendants are authorized to enforce the Pre-Roe Statutes in their

respective jurisdictions. See ECF 258 at 2 (order denying motions to dismiss); ECF 31, ¶ 2 (agreed

stipulation by Defendant Garza); ECF 32, ¶ 2 (agreed stipulation by Defendants Deski, Renken,

McAfee, and Weber); TEX. CODE CRIM. PROC. ARTS. 2.01-02 (providing that district attorneys, or

county attorneys in the absence of a district attorney, have sole power to represent the State in

criminal cases).

       Plaintiffs’ Original Complaint included claims against Texas Attorney General Ken Paxton

and sought protection from his enforcement of the “Texas Trigger Ban,” T EX. HEALTH & SAFETY

CODE ANN. § 170A.001 et seq. See ECF 1, pp. 35-41. Plaintiffs also sought declaratory and




7
  See id., see also Ex. C, ¶ 7.
8
  Ex. B, Hearing Transcript, pp. 189:8-190:9 (Testimony of Plaintiff G. Moayedi).
9
  All of the Prosecutor Defendants were named in their official capacities.

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injunctive relief to declare the Pre-Roe Statutes unconstitutional and to prohibit the Prosecutor

Defendants from enforcing them against Plaintiffs so that Plaintiffs could safely resume their

Desired Conduct.10

       The Court held a preliminary injunction hearing on September 27, 2022, and granted

preliminary injunctive relief against the enforcement of the Pre-Roe Statutes by Defendants Julie

Renken (District Attorney of Washington County), Susan R. Deski (County Attorney of Burleson

County), Wiley B. “Sonny” McAfee (District Attorney of Blanco, Burnet, Llano, and San Saba

Counties), Jose Garza (District Attorney of Travis County), and Fred H. Weber (District Attorney

of Caldwell County) on February 24, 2023. See ECF 120. In the same order, the Court granted

General Paxton’s Motion to Dismiss after determining that the Texas Trigger Ban could not reach

Plaintiffs’ Desired Conduct. Id.

       After Plaintiffs filed their Second Amended Class Action Complaint on April 20, 2023, the

Prosecutor Defendants (except for Ori T. White, who has not appeared) all filed motions to dismiss,

which the Court denied on December 21, 2023. See ECF 258. On January 25, 2024, Plaintiffs filed

their Amended Motion for Certification of a Defendant Class, seeking to certify one or more

defendant classes of Texas prosecutors to facilitate statewide declaratory and/or injunctive relief.

See ECF 279. That motion is fully briefed and awaiting resolution by the Court. All of the

Prosecutor Defendants are members of the proposed class(es) and are also individually named

defendants.




10
   “Desired Conduct” means “providing financial, logistical, or practical assistance to pregnant
Texans who seek abortion care out of state where such care remains legal, including traveling with
them, educating people about where to obtain legal abortion services and providing information to
help them get those services, and in the case of Dr. Moyaedi, providing abortion care either by
remaining physically in Texas and providing telehealth to out-of-state patients or by traveling
outside the state of Texas to provide such care.”

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        With the exception of one pending interrogatory, discovery in this matter closed on May

7, 2024, (ECF 314, ECF 343), and the Prosecutor Defendants did not serve any discovery. 11 All

of the Plaintiffs were served with extensive discovery by Defendants Shannon D. Thomason, Sadie

Weldon, Ashley Maxwell, Zach Maxwell, and Mistie Sharp (“SB8 Defendants”). The SB8

Defendants sought, among other things, detailed information regarding all of the abortions for

which Plaintiffs have provided funds or other support both before and after Dobbs. See ECFs 235,

236, 246, 250 (motion practice related to this discovery, which attaches and authenticates the

discovery itself).

        Principals of several Plaintiffs, including the Lilith Fund for Reproductive Equity, TEA

Fund, and Buckle Bunnies Fund, have also been subjected to Rule 202 pre-suit discovery

proceedings in Texas state court filed by various SB8 Defendants. See ECF 209 (Plaintiffs’ Motion

for Summary Judgment Against SB8 Defendants), Exs. A-1, A-2, and A-11 (authenticated by ECF

209, Ex. A). These petitions purport to seek evidence of SB8 violations, but they also request

information about conduct that each SB8 Defendant characterizes as criminal. Id. The petitions

cite the Pre-Roe Statutes, and all demand information relating to the funding of abortions prior to

the Dobbs decision. Id. They also demand information about the funding of abortions for people

who obtain them in other states. Id.




11
  Plaintiffs Fund Texas Choice, Jane’s Due Process, Frontera Fund, and West Fund all sent letters
to several Prosecutor Defendants asking for confirmation that they could resume their Desired
Conduct without violating the Pre-Roe Statutes, but they received no response. See ECF 175
(Plaintiffs’ Opposition to Ramirez Defendants’ Motions to Dismiss Plaintiffs’ Second Amended
Complaint); Ex. A (Declaration of John Atkins, authenticating and attaching letters from various
Plaintiffs to Prosecutor Defendants Gonzales, Palacios, Ramirez, Stanek, and Hicks and
confirming under oath that no response was received).

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       Plaintiffs Jane’s Due Process, the Lilith Fund for Reproductive Equity (and Lilith Fund’s

principal Neesha Davé), and Buckle Bunnies Fund have also been served with non-party discovery

in unrelated taxpayer-standing litigation involving the City of San Antonio. The third-party

subpoenas were sent by Jonathan F. Mitchell, who is counsel of record for the SB8 Defendants,

and the third-party subpoenas seek much of the same material as the SB8 Defendants sought in

this case, including disclosures regarding what abortions Jane’s Due Process, Lilith Fund, and

Buckle Bunnies Fund have funded both before and after Dobbs.12

                                   III. LEGAL STANDARD

       A party may move for summary judgment at any time until 30 days after the close of

discovery. See FED. R. CIV. P. 56(a). “The court shall grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Id. Where facts are undisputed, and “questions of law alone are involved in a case,

summary judgment is appropriate.” Int’l Ass’n of Machinists & Aerospace Workers, Dist. 776 v.

Tex. Steel Co., 538 F.2d 1116, 1119 (5th Cir. 1976); see also Mendez v. Poitevent, 823 F.3d 326,

336 (5th Cir. 2016) (“Rule 56 does not require that any discovery take place before summary

judgment can be granted.” (citation omitted)).

                              IV. SUMMARY OF ARGUMENT

       Given the evidence in the record, and this Court’s prior rulings, there are no genuinely

disputed material facts related to Counts I-V against the Prosecutor Defendants. The only

remaining issues for those claims are legal questions to be resolved by the Court:

       (1)     Were the Pre-Roe Statutes repealed by implication?




12
  See Ex. D (declaration of John P. Atkins authenticating the served discovery); Ex. D-1 through
D-4 (the served discovery). See Ex. C ¶¶ 12, 13.

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       (2)     Is retroactive application of the Pre-Roe Statutes to conduct that occurred before
               the decision in Dobbs (and a reversal of McCorvey, which has not yet occurred) a
               violation of due process?

       (3)     Are the Pre-Roe Statutes unconstitutional because they violate Plaintiffs’
               constitutional rights to travel, speech, and assembly?

       (4)     Are the Pre-Roe Statutes void for vagueness?

       (5)     Alternatively, does Texas law forbid the application of the Pre-Roe Statutes to
               conduct that solely assists people in obtaining abortions in other states where such
               abortions are legal?

       (6)     Are Plaintiffs entitled to a permanent injunction against enforcement of the Pre-Roe
               Statutes?

The answer to all these questions is “yes.”

       On the first question, the Court is bound by undisturbed (and correct) precedent holding

that the Pre-Roe Statutes were impliedly repealed. McCorvey v. Hill, 385 F.3d 846, 849 (5th Cir.

2004), cert denied 543 U.S. 1154 (2005). See infra, § VI.B.

       As to the second question, Justice Kavanaugh called the retroactivity question “not

especially difficult[.]” Dobbs, 597 U.S. at 346 (Kavanaugh, J. concurring). Enforcement of the

Pre-Roe Statutes to any conduct that occurred during the period that Roe (and also McCorvey) was

the law of the land violates due process for the reasons given in Bouie v. City of Columbia, 378

U.S. 347, 352 (1964). See infra, § VI.C.

       The answer to the third question is “yes” because the Pre-Roe Statutes violate the

fundamental and longstanding right to travel freely among the states to engage in activity that is

legal in the destination state. The Pre-Roe Statutes also impermissibly invade and chill the

Plaintiffs’ fundamental rights of expression and association.




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          The answer to the fourth question is “yes” because the antiquated “furnishing the means”

language in the Pre-Roe Statues is vague and refers to the now-defunct theory of accomplice

liability, thus fails to give notice of the conduct proscribed. See infra, § VI.D.

          Alternatively, in answer to the fifth question, the only constitutionally permissible

construction of the Pre-Roe Statutes means that they cannot apply to in-Texas conduct that helps

people obtain abortions in states where abortions are legal. This is consistent with the current

structure of Texas criminal law, including statutory developments that occurred after the implied

repeal of the Pre-Roe Statutes, and after the adoption of the modern Texas Penal Code. See infra,

§ VI.F.

          Finally, Plaintiffs are entitled to a permanent injunction against enforcement of the Pre-

Roe Statutes against them for any of their Desired Conduct. Because constitutional rights are

implicated, irreparable harm is presumed and the Prosecutor Defendants have no interest in

enforcing an unconstitutional statute. A permanent injunction is therefore an appropriate remedy. 13

                               V. ARGUMENT & AUTHORITIES

A.        The Court correctly determined that Plaintiffs have standing and that their claims
          against the Prosecutor Defendants are ripe.

          The Court has already addressed the factual and legal questions associated with standing

and ripeness, and correctly determined that it has jurisdiction over Plaintiffs’ claims against the

Prosecutor Defendants. In its order granting a preliminary injunction against the then-joined

Prosecutor Defendants, this Court analyzed the evidence presented at the preliminary injunction

hearing and determined that Plaintiffs had standing to proceed. See ECF 120, pp. 30-36. The Court




13
   To the extent the Court believes any factual questions remain regarding the propriety of
permanent injunctive relief, Plaintiffs are prepared to proceed to trial at the Court’s convenience.

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reaffirmed this holding after analyzing (and rejecting) all of the Prosecutor Defendants’ 12(b)(1)

motions to dismiss. See ECF 258, pp. 8-18.

        Specifically, this Court found, based on pleadings and evidence in the record, that:

        (1)     Plaintiffs articulated concrete, non-speculative, current injuries because their
                Desired Conduct is afforded constitutional interests and has been chilled by the
                threat of enforcement of the Pre-Roe Statutes;14

        (2)     The Pre-Roe Statutes arguably proscribe Plaintiffs’ Desired Conduct; 15

        (3)     The threat of enforcement arising from the Pre-Roe Statutes is substantial;16

        (4)     Injuries arising from the Pre-Roe Statutes are traceable to the Prosecutor
                Defendants, who enforce those statutes;17 and

        (5)     Injuries arising from the Pre-Roe Statutes will be redressed by declaratory or
                injunctive relief against the Prosecutor Defendants. 18

These findings and the evidence in the record confirm Plaintiffs’ standing and the Court’s

jurisdiction.

        Nothing has changed since the Court issued its prior orders. No Prosecutor Defendant has

disavowed his ability to enforce the Pre-Roe Statutes against Plaintiffs. No Prosecutor Defendant

has entered any other evidence into the record at all.19 The Court has also already ruled that




14
   See ECF 120, pp. 18-20, 32 and ECF 258, pp. 9-10. This includes an injury to at least one
plaintiff’s constitutional right to travel, (ECF 120, pp. 19, 38 and ECF 258, p. 10); injuries to
expressive and associational rights, (ECF 120, pp. 18-20 and ECF 258, pp. 9-10); and injuries to
other constitutional interests arising from the Due Process Clauses of the Fifth and Fourteenth
Amendments.
15
   See ECF 120, pp. 33-36 and ECF 258, pp. 11-13.
16
   See ECF 120, pp. 20-22, 32-33 and ECF 258, pp. 12-15.
17
   See ECF 120, p. 36; ECF 258, pp. 17-18.
18
   Id. Plaintiff Buckle Bunnies Fund was not joined at the time, but the allegations and experience
of Buckle Bunnies Fund are similar to those of the other Plaintiffs. See Ex. C.
19
   If anything has changed since the Court’s issued its prior orders, it has been that the threat posed
by the Pre-Roe Statutes has increased. Certain politically motivated private persons—some of
whom are current Defendants in this case, and all of whom are represented by Jonathan Mitchell,
counsel for the SB8 Defendants—have been seeking invasive discovery about alleged criminal

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Plaintiffs’ claims against the Prosecutor Defendants are ripe. ECF 258 at 15-18. There are also no

disputed material facts regarding ripeness (or any other issue) in the record.

B.     Plaintiffs are entitled to declaratory judgment on Count III that the Pre-Roe Statutes
       were repealed by implication.

       After Roe was decided, and while it was the law of the land, the State of Texas enacted

various laws regulating abortions that are not consistent with, and could not be simultaneously

applied along with, the Pre-Roe Statutes. As the Fifth Circuit held, those actions by the Texas

Legislature constitute an implied repeal of the Pre-Roe Statues. McCorvey, 385 F.3d at 849. The

Court should therefore grant Plaintiffs’ request for a declaratory judgment on Count III.

       In McCorvey, the Fifth Circuit ruled that the “Texas statutes that criminalized abortion

(former Penal Code Articles 1191, 1192, 1193, 1194, and 1196) and were at issue in Roe have, at

least, been repealed by implication[,]” because it found that Texas’s regulatory provisions

governing abortion “cannot be harmonized with provisions that purport to criminalize abortion.

There is no way to enforce both sets of laws; the current regulations are intended to form a

comprehensive scheme—not an addendum to the criminal statutes struck down in Roe.” Id.

       McCorvey is correct. The two sets of laws—the newer ones regulating abortions

permissible until viability, and the older ones forbidding it in all but a few cases regardless of

viability—were not possible to reconcile. An irreconcilable conflict exists between two statutes

when there is a “positive repugnancy between them or . . . they cannot mutually coexist.”

Radzanower v. Touche Ross & Co., 426 U.S. 148, 155 (1976). Under Texas law, “a statute may be

repealed expressly or by implication.” Gordon v. Lake, 356 S.W.2d 138, 139 (Tex. 1962). “Where

a later enactment is intended to embrace all the law upon the subject with which it deals, it repeals



acts of Plaintiffs through pre-suit depositions, non-party discovery, and even in this case. See
supra, § II, ¶¶. 10-13.

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all former laws relating to the same subject.” Id. “A subsequent statute, revising the subject matter

of a former one, and evidently intended as a substitute for it, although it contains no express words

to that effect, must operate to repeal the former, to the extent to which its provisions are revised

and supplied.” Bryan v. Sundburg, 5 Tex. 418, 423 (1849). Therefore, “laws relating to the same

subject should be considered as though incorporated in the same act.” Gordon, 356 S.W.2d at 139.

       When Texas decided, post-Roe, to regulate abortion in detail, it necessarily impliedly

repealed any laws forbidding abortion altogether. By doing so, Texas was inherently “revising the

subject matter of [the] former [law]” and the new laws it created could not reasonably be read

together if “incorporated in the same act.” See Bryan, 5 Tex. at 423; Gordon, 356 S.W.3d at 139.

       McCorvey is also binding. There are no Texas Supreme Court or Fifth Circuit decisions

overturning it. In fact, there are not even any state appellate court decisions disagreeing with it. 20

Nor has McCorvey’s holding been undone by the Texas Legislature’s late expressions of contrary

intention.

       When the Texas Legislature enacted Senate Bill 8 during the 2021 Legislative Session, it

included language stating “[t]he legislature finds that the State of Texas never repealed, either

expressly or by implication, the state statutes enacted before the ruling in Roe v. Wade, 410 U.S.

113 (1973), that prohibit and criminalize abortion unless the mother’s life is in danger.” 21 This




20
   Even if any intermediate state court precedent existed, it still would not warrant a retreat from
McCorvey. See F.D.I.C. v. Abraham, 137 F.3d 264, 269 (5th Cir. 1998) (“[W]hen our Erie analysis
of controlling state law is conducted for the purpose of deciding whether to follow or depart from
prior precedent of this circuit. . . we should not disregard our own prior precedent on the basis of
subsequent intermediate state appellate court precedent unless such precedent comprises
unanimous or near-unanimous holdings from several—preferably a majority—of the intermediate
appellate courts of the state in question.”).
21
   See Ex. A, Plaintiffs’ Exhibits, 13 (SB8 Enacted Text, Section 2); Ex. B, pp. 182 (reflecting
offer and admission).

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proclamation—and any other similar action by the Texas Legislature—has no effect on McCorvey.

Under Texas law, a legislative declaration of the intentions of a prior legislature is meaningless.

Fleming Foods of Texas, Inc. v. Rylander, 6 S.W.3d 278, 286 (Tex. 1999) (“General statements of

the Legislature’s intent cannot revive repealed statutes or override the clear meaning of a new,

more specific statute.”).22 The Texas Legislature cannot undo its prior implied repeal of the Pre-

Roe statutes by asserting current expressions of the past intentions of a completely different

legislature.

        Thus, the Court should declare that the Pre-Roe Statutes were repealed by implication and

cannot be enforced against Plaintiffs at all.

C.      Plaintiffs are entitled to declaratory judgment on Count III that the Pre-Roe Statutes
        cannot be enforced against them for conduct that occurred before the Dobbs mandate
        issued or while McCorvey remains the law of the Fifth Circuit.

        As alleged by Plaintiffs and supported by the evidence before the Court, Plaintiffs

reasonably fear that the Pre-Roe Statutes will be retroactively enforced against them. General

Paxton claimed that the Pre-Roe Statutes were revived by the decision in Dobbs, and several Texas

officials have claimed that this revival gives the Pre-Roe Statutes retroactive force covering periods

before the Dobbs decision issued, or between the announcement of the Dobbs decision and the

issuance of the final judgment in July of 2022.23 No Prosecutor Defendant has disavowed his or



22
   See also Fed. Crude Oil Co. v. Yount-Lee Oil Co., 52 S.W.2d 56, 63 (1932) (“[T]he expression
of an opinion by one Legislature in construing the act of a former Legislature is not conclusive
upon the courts as it is their province to arrive at the intention of the particular legislature which
enacted each of these laws.”); Rowan Oil Co. v. Texas Employment Commission, 263 S.W.2d 140,
144 (Tex. 1953) (“[T]he Act cannot release any contributions which accrued … before its passage
and neither does one session of the Legislature have the power to construe the Acts or declare the
intent of a past session.”).
23
   See, e.g., Ex. A, Hearing Exhibits, 1 (letter from various legislators to Sidley Austin threatening
that “abortion is a felony offense in Texas unless the mother’s life is in danger” on July 7, 2022—
after the Dobbs decision but before judgment was entered—and calling abortions both before and
after Dobbs illegal); 3-4 and 26-27 (Paxton communications and advisories claiming Texas Pre-

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her ability to enforce the Pre-Roe Statutes against acts that occurred prior to the entry of judgment

in the Dobbs decision, or prior to any future decision overturning McCorvey.

       A person is required to conform their conduct to the law, but she is entitled to rely on the

pronouncements of the courts as to what the law actually is. Retroactive enforcement of a statute

against conduct that occurred during a period when a statute was struck down as unconstitutional

violates due process of law just as an impermissibly vague statute does. As the Supreme Court has

explained, “a deprivation of the right of fair warning can result not only from vague statutory

language but also from an unforeseeable and retroactive judicial expansion of narrow and precise

statutory language.” Bouie v. City of Columbia, 378 U.S. 347, 352 (1964).

       The issue addressed in Bouie was retroactive expansion of a previously narrowly construed

statute. The argument applies with greater force to statutes previously and specifically declared

unconstitutional by the Supreme Court. If a person cannot rely on the Supreme Court’s binding

construction of the Constitution in conforming their behavior to the law, the law becomes

unknowable. Justice Kavanaugh, concurring in Dobbs, agreed—calling the question of retroactive

enforcement “not especially difficult as a constitutional matter.”        Dobbs, 597 U.S. at 346

(Kavanaugh, J. concurring). He stated:

               May a State retroactively impose liability or punishment for an
               abortion that occurred before today’s decision takes effect? In my
               view the answer is no based on the Due Process Clause or the Ex
               Post Facto Clause.




Roe Statutes were immediately revived by Dobbs decision, including in Ex. 3 claiming that district
attorneys may “immediately”—the day after the Dobbs decision was issued but before judgment—
begin to enforce the Pre-Roe Statutes, and in Ex. 27 saying the same thing after judgment was
issued, despite McCorvey remaining undisturbed), 5 (March 18, 2022 letter—before Dobbs—from
representative Cain to Plaintiff the Lilith Fund for Reproductive Equity alleging that “furnishing
the means” for an abortion is a violation of the Pre-Roe Statutes), 8 (tweet by Representative Cain
excerpting Pre-Roe Statutes and claiming donating money “to a Texas abortion” is a crime).

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Id. (citing Bouie, 378 U.S. 347).

       This is particularly true of the Pre-Roe Statutes, which are the specific statutes declared

unconstitutional in Roe. 410 U.S. 113, 117-18 (“[t]he Texas statutes that concern us here are Arts

1191-1194 and 1196 of the State’s Penal Code…”), 117 n. 1 (setting out the statutes in full), and

166 (“[o]ur conclusion that Art. 1196 is unconstitutional means, of course, that the Texas abortion

statutes, as a unit, must fall.”). During the time that Roe was the law of the land, the Pre-Roe

Statutes were “void, and [] no law … [a]n offence created by [them] [was] not a crime.” Ex Parte

Siebold, 100 U.S. 371, 376 (1879); see also Marbury v. Madison, 5 U.S. 137, 177 (1803).

       McCorvey also dealt specifically with the Pre-Roe Statutes. 385 F.3d at 850. In that case,

the Fifth Circuit found a challenge to Roe was moot because the statutes Roe negated were

impliedly repealed by later legislative acts. Plaintiffs were (and remain) entitled to rely on

McCorvey’s finding that Texas’s Pre-Roe Statutes are not effective unless and until McCorvey is

overruled or the statutes themselves are re-enacted.24

       Plaintiffs—and all others—were entitled to rely on Roe v. Wade while it was the law, and

are entitled to rely on McCorvey while it is still the law. Any alternative finding invites the chaos

of citizens having to consider multiple contradictory layers of law, and decide in undertaking

ostensibly legal conduct how likely a court might be to overrule itself. Courts can change their

minds, but if the meaning of the Constitution cannot be the same from one year to the next, it must

at least be the same for all people at any one time, and knowable to those people at that time.

Plaintiffs are therefore entitled to declaratory judgment that the Pre-Roe Statutes cannot be




24
   Even if one of those two things occurred, the Pre-Roe Statutes still could not have retroactive
effective without violating the U.S. Constitution (in the former under Bouie, in the latter under the
Texas and federal prohibitions against ex post facto laws).

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enforced against any Plaintiff for any conduct that occurred prior to both (1) Dobbs becoming

effective, and (2) any future decision overruling McCorvey becoming effective.

D.      Plaintiffs are entitled to declaratory judgment on Counts I and II that the Pre-Roe
        Statutes cannot be enforced against them.

        The Pre-Roe Statutes also violate Plaintiffs’ substantive rights to travel, speech, and free

association under the U.S. Constitution.

        1.      The right to travel protects Plaintiffs’ Desired Conduct.

        “The right to interstate travel is one of our most fundamental constitutional rights. It

cultivates national citizenship and curbs state provincialism, and thus was key to fusing a league

of States into a true federal union.” Yellowhammer Fund v. Marshall, et al., No. 2:23-cv-00450,

slip op. at 41-2 (M.D.Ala. May 6, 2024) (citing United States v. Guest, 383 U.S. 745, 757-58

(1966); id. at 767 (Harlan, J., concurring)). The right to travel has also “consistently been protected

precisely so that people would be free to engage in lawful conduct while traveling.” Id. at 42. The

right can be traced back at least as far as the Magna Carta, which ensured that merchants could

travel for the purpose of engaging in commerce. See Magna Carta (1215) cl. 41; see also Kent v.

Dulles, 357 U.S. 116, 125-26 (1958). The right was also included in Article IV of the Articles of

Confederation, which stated that all citizens “shall have free ingress and regress to and from any

other State, and shall enjoy therein all the privileges of trade and commerce, subject to the same

duties, impositions and restrictions as the inhabitants thereof.” Articles of Confederation of 1781,

art. IV, para. 1.

        The Supreme Court has also located the right to travel in several different constitutional

provisions, and has held that the right is “virtually unqualified.” Califano v. Gautier Torres, 435




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U.S. 1, 5 n.6 (1978).25 Justice Bushrod Washington, the nephew of George Washington, also

opined within a generation of the Constitution’s ratification, that:

               The right of a citizen of one state to pass through, or to reside in any
               other state, for purposes of trade, agriculture, professional pursuits,
               or otherwise … may be mentioned as some of the particular
               privileges and immunities of citizens, which are clearly embraced
               by the general description of privileges deemed to be fundamental…

Corfield v. Coryell, 6 F. Cas. 546, 552 (C.C.E.D. Pa. 1823). The right is broad and embraces at

least “lawful commerce, trade, or business.” Ward v. State, 79 U.S. 418, 430 (1870). The U.S.

Supreme Court has also made clear that travel for medical care is protected by the right to travel.

       In Doe v. Bolton, the Supreme Court struck down a residency requirement attendant to the

provision of health care related to abortion. 410 U.S. 179, 200 (1973), abrog’d on other grounds

by Dobbs, 597 U.S. 215 (2022). In Saenz v. Roe, the Supreme Court listed “to procure medical

services” as one of the protected uses of the right to travel. 526 U.S. 489, 502 (1999) (citing Bolton,

410 U.S. at 502). Justice Kavanagh also dismissed the question of whether the right to travel




25
   The Supreme Court has derived the right to travel from the Privileges and Immunities Clause of
Article IV, the Commerce Clause, the Privileges, or Immunities Clause of the Fourteenth
Amendment, and the Due Process Clauses of the Fifth and Fourteenth Amendments. See Shapiro
v. Thompson, 394 U.S. 618, 666 (1969) (Harlan, J., dissenting), overruled on other grounds by
Edelman v. Jordan, 415 U.S. 651 (1974); Guest, 383 U.S. at 763-70 (Harlan, J., concurring).
“Considering the right to travel in the context of Article IV’s Privileges and Immunities Clause
confirms that the right includes both the right to move physically between the States and to do
what is legal in the destination State. The Clause was meant to create a ‘general citizenship,’ and
‘place the citizens of each State upon the same footing with citizens of other States.’”
Yellowhammer Fund, No. 2:23-cv-00450 at 45-7. When individuals travel to another state, the
Privileges, and Immunities “Clause ensures that they lose both ‘the peculiar privileges conferred
by their [home State’s] laws’ as well as ‘the disabilities of alienage.’ The Clause ‘insures to
[citizens] in other States the same freedom possessed by the citizens of those States in the
acquisition and enjoyment of property and in the pursuit of happiness.’” Id. at 45-6 (citing and
quoting Paul v. Virginia, 75 U.S. 168, 180 (1868), overruled in part on other grounds by United
States v. Se. Underwriters Ass’n, 322 U.S. 533 (1944).

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protects the ability to travel to obtain abortion care where such care is legal as “not especially

difficult as a constitutional matter[:]”

                May a State bar a resident of that State from traveling to another
                State to obtain an abortion? In my view, the answer is no based on
                the constitutional right to interstate travel.

See Dobbs, 597 U.S. at 346 (Kavanaugh, J. concurring).

        “Of course, if a State cannot outright prohibit the plaintiffs’ clients from traveling to receive

lawful out-of-state abortions, it cannot accomplish the same end indirectly by prosecuting those

who assist them. The threatened prosecutions offend two tenets of right-to-travel jurisprudence:

first, that States may not act with the purpose of impeding lawful travel; and, second, that States

may not outlaw assistance for otherwise lawful travel.” Yellowhammer Fund, No. 2:23-cv-00450,

at 51-2.26 “When a State creates barriers to travel itself, ‘the constitutional right of interstate travel

is virtually unqualified,’ and even the slightest burdens on travel are generally not tolerated.” Id.

at 54 (citing and quoting Haig v. Agee, 453 U.S. 280, 307 (1981)). Travel restrictions directed

toward those who facilitate lawful travel for others are also unconstitutional.

        As explained by the Honorable Myron H. Thompson in Yellowhammer Fund:

                Exemplifying both points is Crandall v. Nevada, which produced
                the Supreme Court’s first majority opinion on the right to travel. 73
                U.S. 35 (1867). At issue was a Nevada statute that imposed a one-
                dollar tax per passenger on common carriers leaving the State. The
                Court held that the tax was an unconstitutional burden on the
                passengers’ right to travel, even though the tax was merely one
                dollar and even though it applied only when someone relied on a
                common carrier for transportation.



26
  See also Aptheker v. Secretary of State, 378 U.S. 500, 507 (1964) (“The restrictive effect of the
legislation cannot be gainsaid by emphasizing, . . . that a member of a registering organization
could recapture his freedom to travel by simply in good faith abandoning his membership in the
organization. Since freedom of association is itself guaranteed in the First Amendment, restrictions
imposed upon the right to travel cannot be dismissed by asserting that the right to travel could be
fully exercised if the individual would first yield up his membership in a given association.”).

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               Likewise, in Edwards v. California, the Supreme Court struck down
               a California law that made it a crime to bring or assist in bringing
               into the State any indigent person who was not a California resident.
               314 U.S. 160 (1941). Thus, the California law subjected only those
               who assisted others in travel to criminal liability. The Court
               nonetheless determined that the law violated indigent people’s right
               to travel. It did so even despite recognizing that the State had passed
               the law to address “grave and perplexing social and economic”
               issues. Id. at 173. The Court held that regardless of “‘the wisdom,
               need, or appropriateness’ of the legislative efforts of the States to
               solve such difficulties,” the Constitution prohibited such a burden
               on facilitating travel. Id. (quoting Olsen v. Nebraska ex rel. W.
               Reference & Bond Ass’n, 313 U.S. 236, 246 (1941))

               Denying—through criminal prosecution—assistance to the
               plaintiffs’ clients [who seek legal abortion care out of state], many
               of whom are financially vulnerable, is a greater burden on travel
               than the one-dollar tax per passenger in Crandall, and it is precisely
               what was held unconstitutional in Edwards.

Id. at 54-6. Texas’s Pre-Roe Statutes impermissibly invade the right to travel in exactly the same

way.

       Criminalizing a citizen’s exercise of their constitutional right to interstate travel to engage

in lawful conduct in another state does not bear any relationship to any legitimate state interest, let

alone a compelling one.27 “There is no end-run around the right to travel that would allow States

to burden travel selectively and in a patchwork fashion based on whether they approve or

disapprove of lawful conduct that their residents wish to engage in outside their borders.”

Yellowhammer Fund, No. 2:23-cv-00450, at 56. Because the Pre-Roe Statutes fail strict scrutiny,

the Court may find them facially invalid. Aptheker, 378 U.S. at 516-17.




27
   A blanket restriction on all interstate travel or assistance related to abortion outside of Texas is
also not narrowly tailored to any interest the State may try to articulate, as there are reasonable
alternatives that could further the State’s alleged interest. See Dunn v. Blumstein, 405 U.S. 330,
343 (1972); see ECF 6 at 21-22 (listing alternatives).

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       2.      The Pre-Roe Statutes violate Plaintiffs’ rights to free speech and association.

       Plaintiffs have an expressive right under the First Amendment to make legal, charitable

donations, and to solicit charitable contributions for that work. See ECF 120, pp. 19, 38, 50 and

ECF 258, pp. 9-10. Similarly, they have the right to educate pregnant Texans about their legal

options with respect to abortions, to direct them to where they may legally obtain them, and to

encourage, advertise, and provide charitable help to people seeking to leave the state to obtain

legal abortions. See ECF 258, p. 10.

       “[T]he solicitation of charitable contributions is protected speech.” Riley v. Nat’l Fed’n of

the Blind of N. Carolina, Inc., 487 U.S. 781, 789 (1988); see also Secretary of State of Maryland

v. Joseph H. Munson Co., 467 U.S. 947, 967 (1984) (finding unconstitutional a law that limited

the ability of charitable organizations to raise contributions because the law was therefore “a direct

restriction on protected First Amendment activity.”). 28 Plaintiffs are not subject to any exception



28
   See also Citizens United v. Fed. Election Com’n, 558 U.S. 310, 339 (2010) (“prohibition on
corporate independent expenditures is thus a ban on speech.”); Village of Schaumburg v. Citizens
for a Better Environment, 444 U.S. 620, 632 (1980) (charitable solicitations “involve a variety of
speech interests . . . that are within the protection of the First Amendment”); Dep’t of Texas,
Veterans of Foreign Wars of U.S. v. Texas Lottery Comm’n, 760 F.3d 427, 430 (5th Cir. 2014)
(applying strict scrutiny to the Texas Bingo Enabling Act, which allowed charitable organizations
to raise money by holding bingo games on the condition that the money is used only for the
organizations’ charitable purpose, and finding that the statute restricted organization’s speech, and
was therefore invalid under the First Amendment.); Texans for Free Enter. v. Texas Ethics
Comm’n, 732 F.3d 535, 539 (5th Cir. 2013) (“[Texans for Free Enterprise’s] ability to speak is
undoubtedly limited when it cannot raise money to pay for speech. Consistent with our precedents,
then, [Texans for Free Enterprise] has established irreparable harm.”); Texas Mun. Police Assoc.
v. Texas Ethics Comm’n, No. A-08-CA-741-SS, 2010 WL 11506913, at *7-8 (W.D. Tex. Oct. 29,
2010) (finding Texas statute that prohibited a corporation or labor organization from making
political contribution or political expenditure conflicted with Citizens United, and holding that
Texas may not restrict political speech based on the speaker’s corporate identity); Free Mkt.
Found. v. Reisman, 573 F. Supp. 2d 952, 954 (W.D. Tex. 2008) (“Contribution limits imposed on
groups can be especially problematic when they ’severely inhibit collective political activity by
preventing [a group] from using contributions by small donors to provide meaningful assistance
to any individual candidate.’” (quoting Randall v. Sorrell, 548 U.S. 230 (2006) (Breyer, J.,
plurality)).

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to this general rule because of the nature of their charitable work. The abortions they wish to

provide financial and practical support for (and in the case of Dr. Moayedi, perform) are all legal

where they take place. See Riley, 487 U.S. at 789; Joseph H. Munson Co., 467 U.S. at 967.

       The Supreme Court has ruled that a state does not have an interest in prohibiting its citizens

from obtaining abortions sufficient to prevent advertisement of legal abortion services in another

state. Bigelow v. Virginia, 421 U.S. 809, 815, 824-25 (1975) (Virginia’s interest in prohibiting

abortion did not extend to preventing in-state advertisement regarding the legal availability of

abortion in New York).29 In Bigelow, the Court found that Virginia had little, if any, interest in

protecting its citizens from information about abortion services in New York, or from “using in

New York the then legal services of local New York agency.” Id. at 827-28. Moreover, Virginia

could not “prevent its residents from traveling to New York to obtain” an abortion. Id. The Seventh

Circuit has similarly explained:

               It is quite common for persons to travel to other jurisdictions in order
               to avoid restrictive laws in their home state or to take advantage of
               more lenient laws in another state, and it is perfectly lawful for one
               to advise another to do so. People travel to Nevada to gamble or to
               gain a quick marriage or divorce; they travel across state lines in
               order to purchase liquor cheaper or at a younger age.

Robak v. United States, 658 F.2d 471, 476–77 (7th Cir. 1981) (emphasis added).

       A prohibition against charitable giving that applies exclusively to charitable contributions,

assistance, or provision of information to those seeking legal abortions in another state is

necessarily a content-based restriction on speech because it is a restriction that is based on the




29
  Bigelow does not rely on Roe, and it remains good (and binding) law. See NetChoice, L.L.C. v.
Paxton, 49 F.4th 439, 450 (5th Cir. 2022), cert. granted in part sub nom. Netchoice, LLC v. Paxton,
216 L. Ed. 2d 1313 (Sept. 29, 2023) (citing Bigelow favorably and without any signal indicating
any part has been abrogated or overruled post-Dobbs).

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“communicative content” of the speech. See Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015);

NetChoice, L.L.C. v. Paxton, No. 21-51178, 2022 WL 4285917, at *30 (5th Cir. Sept. 16, 2022).

When a prohibition is content-based, it is “presumptively unconstitutional” and strict scrutiny

applies. Reed, 576 U.S. at 163. “Whether laws define regulated speech by particular subject matter

or by its function or purpose, they are subject to strict scrutiny.” Id. at 156. “This stringent standard

reflects the fundamental principle that governments have no power to restrict expression because

of its message, its ideas, its subject matter, or its content.” Nat’l Inst. Of Family & Life Advocates

v. Becerra, 585 U.S. 755, 766 138 S. Ct. 2361, 2371 (2018) (cleaned up). Once strict scrutiny is

applied, a law must be “narrowly tailored” to serve a “compelling interest” to survive. Serafine v.

Branaman, 810 F.3d 354, 361 (5th Cir. 2016).

          As Bigelow shows, Texas’s interest (if any) in preventing its citizens from leaving the state

to obtain legal abortions in Texas’s sister states (or in preventing them from learning of their right

to do so) is not compelling. The Pre-Roe Statutes therefore fail at the first hurdle—absent a

compelling interest, no amount of narrow tailoring can vindicate the content-based restriction.

Plaintiffs are entitled to a declaratory judgment to the effect that the Pre-Roe Statutes are

unconstitutional on their face..30

E.        Plaintiffs are entitled to declaratory judgment on Count IV that the “furnishing the
          means” provision of the Pre-Roe Statutes is unconstitutionally vague.

          “Elementary considerations of fairness dictate that individuals should have an opportunity

to know what the law is and to conform their conduct accordingly . . . .” Landgraf v. USI Film

Prods., 511 U.S. 244, 265 (1994). A penal statute must “define the criminal offense with sufficient

definiteness that ordinary people can understand what conduct is prohibited and in a manner that




30
     The Pre-Roe Statues are also not narrowly tailored. Supra, n. 27.

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does not encourage arbitrary and discriminatory enforcement.” Kolender v. Lawson, 461 U.S. 352,

357 (1983). The vagueness standard is stricter where, as here, the relevant statute interferes with

other protected rights. Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489,

499 (1982) (“[P]erhaps the most important factor affecting the clarity that the Constitution

demands of a law is whether it threatens to inhibit the exercise of constitutionally protected rights.

If, for example, the law interferes with the right of free speech or of association, a more stringent

test should apply.”)

       It is not clear what “furnishing the means” for “procuring an abortion” in Section 4512.2

of the Pre-Roe Statutes means. The phrases are not defined anywhere in the statutes. Whether a

person “furnish[es] the means” by driving someone to an abortion appointment in another state,

by providing money to that person to obtain the necessary medical care, by providing them with

the information they need to find a clinic in a state where abortion is legal that can help them, by

providing them the emotional support to make the decision to seek an abortion, by providing them

with abortion medication, or by all of these, or only some, is not clear.

       Some of the constructions of the statutory language may appear more likely than others,

but none have been tested. And this Court has recognized that, despite persuasive arguments that

“furnishing the means” should only apply to the literal provision of abortion medications and the

like, [see ECF 120, p. 35, see also ECF 6, pp. 35-36 (Plaintiffs’ Motion for Preliminary Injunction,

making a similar argument)] Texas officials have taken the opposite position, and no recent state

court authority addresses the issue so as to define the language clearly. See ECF 120, pp. 33-36.

       The dictionary definitions of “furnish” and “means” afford exceptionally broad

possibilities for the meaning of the terms that could encompass anything of assistance associated




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with an abortion.31 This ambiguity is worsened by the Texas Penal Code’s explicit disclaimer that

“[t]he rule that a penal statute is to be strictly construed does not apply to this code.” See ECF

120, p. 34 (citing TEX. PENAL CODE ANN. § 1.05(a)). It is worsened further by the Prosecutor

Defendants’ silence about what the words of the statute mean. Plaintiffs asked some of the

Prosecutor Defendants specifically whether they can engage in their Desired Conduct and be in

compliance with the Pre-Roe Statutes. They all refused to answer.32

       It is this “unsettling and chilling want of clarity in statements by officials with enforcement

authority, made against a chorus of state officials without enforcement power” that furthers and

enhances the vagueness already present in Pre-Roe Statutes. See In re Paxton, 60 F.4th 252, 262

(5th. Cir. 2023) (Higginbotham, J. concurring). In the absence of clarity, there is significant risk

that Plaintiffs will be “subject[ed] to sanctions based not on their own objective behavior, but on

the subjective viewpoints of others.” Women’s Med. Ctr. of Nw. Houston v. Bell, 248 F.3d 411,

422 (5th Cir. 2001). Requiring Plaintiffs to move forward with their missions without clarification

of the law forces them to choose between foregoing the work they believe they are constitutionally

permitted to do or risking prosecution for “knowing but guiltless behavior.” Baggett v. Bullitt, 377

U.S. 360, 373 (1964). Even “[w]ell-intentioned prosecutors and judicial safeguards do not

neutralize the vice of a vague law.” Id.




31
   E.g., www.dictionary.com, (defining “furnish” in this context as “to provide or supply” and
“means” as “the medium, method, or instrument used to obtain a result or achieve an end”) (last
visited May 8, 2024); merriam-webster.com (defining “furnish” as “supply, give” and defining
“means” as “something useful or helpful to a desired end”) (last visited May 8, 2024).
32
   Supra, § II.

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       The Pre-Roe Statutes—specifically the “furnishing the means” provision at Article 4512.2

of the Texas Revised Civil Statutes—are unconstitutionally vague, and they should be declared

facially unconstitutional for that reason.

F.     Alternatively, Plaintiffs are entitled to a declaration under Count V that the Pre-Roe
       Statutes cannot apply to their Desired Conduct as a matter of Texas law.

       In the alternative to declarations that the Pre-Roe Statutes are impliedly repealed and/or

unconstitutional for the reasons discussed above, Plaintiffs are entitled to a declaration that the

Pre-Roe Statutes, properly construed, cannot apply to their Desired Conduct as a matter of Texas

law. As the Court has recognized, there is no present, binding, non-dicta Texas state court authority

construing the meaning of the Pre-Roe Statutes, particularly the “furnishing the means” provision.

ECF 120 at 35. However, several lines of authority suggest that, despite the threats of various

public officials, the vagueness of the statute, and the silence of the Prosecutor Defendants, the Pre-

Roe Statutes were not intended to be enforced, and cannot be enforced, against someone who

merely provides material assistance to a person seeking an out-of-state abortion. ECF 107, pp. 10-

13.

       First, the Pre-Roe Statutes were written before the State of Texas eliminated the distinction

between principals and accomplices in Texas law. As construed by the Texas Court of Criminal

Appeals in 1897, it was impossible to punish someone for “furnishing the means” where the

abortion itself was legal because the “furnishing the means” statute states that a person who

provides the means for an abortion is liable as an accomplice, and accomplice liability first requires

the liability of a principal. Moore v. State, 40 S.W. 287, 290 (Tex. Crim. App. 1897) (analyzing

the furnishing statute and finding it impossible to have an offense committed by an accomplice

without a principal). Straightforwardly applying that rule to an abortion that occurred legally in




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another state, the “principal” could not be liable, and thus there could be no “accomplice” act of

“furnishing the means.” See generally id.

        Second, the best reading of the Pre-Roe Statutes is that a person only “furnishes the means

for procuring an abortion” if she provides the actual physical means of causing the abortion (i.e.,

the medicine, drug, or, conceivably, surgical tool). See ECF 120, p. 35. Amici have briefed that

issue in this case. See ECF 107, pp. 10-13. If that reading of the statute is correct, then furnishing

money, or travel support, or even traveling with someone, would not constitute “procuring” an

abortion (whether in-state or out-of-state).

        Plaintiffs recognize the Court’s reticence to “impose [its] own narrowing construction”

onto a law where a state court has not done so. See ECF 120, p. 35 (citing Hill v. City of Houston,

789 F.3d 1103 (5th Cir. 1986) (en banc) aff’d 482 U.S. 451 (1987)). Plaintiffs also believe that the

better course to provide them full and clear relief, is a declaration that the Pre-Roe Statutes are

facially unconstitutional. Nevertheless, Plaintiffs asserted Count V in the alternative and are

entitled to the relief requested if the Court denies Plaintiffs’ requested relief on Counts I-IV.

G.      Plaintiffs are entitled to a permanent injunction prohibiting the Prosecutor
        Defendants from enforcing the Pre-Roe Statutes against Plaintiffs.

        A court’s decision to award permanent injunctive relief is an act of “equitable discretion.”

eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). Permanent injunctive relief is

authorized when a party establishes: “(1) success on the merits; (2) that a failure to grant the

injunction will result in irreparable injury; (3) that said injury outweighs any damage that the

injunction will cause the opposing party; and (4) that the injunction will not disserve the public

interest. O’Connor v. Smith, 427 Fed. Appx. 359, 365 (5th Cir. 2011). All of those elements are

satisfied.

        First, as established herein, Plaintiffs are entitled to declaratory judgment on Counts I-V.



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        Second, “when an alleged deprivation of a constitutional right is involved, most courts hold

that no further showing of irreparable injury is necessary.” Book People, Inc. v. Wong, 91 F.4th

318, 340-41(5th Cir. Jan. 17, 2024). The Court already correctly determined that the Plaintiffs are

suffering an irreparable injury to their constitutional rights when it issued its preliminary

injunction. See ECF 120, pp. 48-50.

        Third, the requested injunction will not cause any injury to the Prosecutor Defendants

because it simply restrains them from doing something they have no right to do. “[N]either the

State nor the public has any interest in enforcing a regulation that violates federal law.” Book

People, 91 F.4th at 341 (citations omitted).

        Finally, safeguarding fundamental constitutional rights always serves the public interest.

Ingebretsen v. Jackson Pub. Sch. Dist., 88 F.3d 274, 280 (5th Cir. 1996) (“The School Prayer

Statute is unconstitutional so the public interest was not disserved by an injunction preventing its

implementation.”); De Leon v. Perry, 975 F. Supp. 2d 632, 665 (W.D. Tex. 2014), aff’d sub

nom. De Leon v. Abbott, 791 F.3d 619, 665 (5th Cir. 2015) (“Therefore, a preliminary injunction

preventing the enforcement of an unconstitutional law serves, rather than contradicts,

the public interest.”).

        Moreover, a permanent injunction against all enforcement of the Pre-Roe Statutes is

necessary to dissuade other actors—like the SB8 Defendants—from seeking invasive and

irrelevant discovery about what they believe is “criminal” conduct. 33 An injunction against the




33
   The SB8 Defendants and their counsel, Mr. Mitchell, have repeatedly made clear that they will
continue to target Plaintiffs and assert that they are engaging in criminal behavior in the absence
of clear court orders to the contrary. As recently as May 5, 2024, Mr. Mitchell sent yet another
litigation hold notice to Plaintiffs through undersigned counsel, this time on behalf of unidentified
clients that Mr. Mitchell asserts he also represents. Ex. E (Declaration of Elizabeth G. Myers
authenticating litigation hold); Ex. E-1, litigation hold email.

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Prosecutor Defendants will ensure that no other actors, including the SB8 Defendants or their

counsel, can use the Pre-Roe Statutes to assert that Plaintiffs are engaged in criminal behavior as

a basis for any discovery or continued harassment of Plaintiffs.

        Plaintiffs recognize that ordinarily a court will not impose a permanent injunction against

enforcement of a statute unless there is some signal that a declaration by the Court will not be

sufficient. See, e.g., Free Mkt. Found., 573 F. Supp. 2d at 957. But as the Fifth Circuit has

recognized, abortion is a uniquely hot political button, which generates more than its share of

overreach among the political branches, as well as political actors, individuals, and counsel now

acting at the government’s behest. Bell, 248 F.3d at 422 (warning of standardless laws and arbitrary

government action in the context of abortion). Plaintiffs’ constitutional rights are threatened by

multiple abortion laws that work together to chill their speech and conduct. ECF 258 at 23-25.

Plaintiffs respectfully submit that this unique case warrants the issuance of permanent injunctive

relief to ensure that there is no doubt that they can legally resume their Desired Conduct.

                                        VI. CONCLUSION

        For the foregoing reasons, Plaintiffs ask that this Court grant summary judgment against

the Prosecutor Defendants on Counts I-V and enter the requested declarations and a permanent

injunction. Plaintiffs also respectfully request any other relief to which they are justly entitled. 34




34
  Plaintiffs specifically request an award of reasonable and necessary attorneys’ fees under 42
U.S.C. § 1988, and if such an award is granted, Plaintiffs will submit evidence establishing the
amount of such an award at an evidentiary hearing conducted at the Court’s convenience.

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                                 CERTIFICATE OF SERVICE

        I certify that this document was filed electronically on May 17, 2024, with the clerk of the
Court for the U.S. District Court, Western District of Texas, using the electronic case filing system
of the court.


                                                      /s/ John P. Atkins
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